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                                                                              2021 Dec-22 PM 11:55
                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

BOBBY SINGLETON, et al.,                )
                                        )
        Plaintiffs,                     )
                                        )
v.                                      )      Case No. 2:21-cv-01291-AMM
                                        )
JOHN H. MERRILL, in his official        )      THREE-JUDGE COURT
capacity as Alabama Secretary of State, )
et al.,                                 )
                                        )
        Defendants.                     )

     DECLARATION OF EDMUND G. LACOUR JR. IN SUPPORT OF
          DEFENDANTS’ RESPONSE IN OPPOSITION TO
      PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

 I, Edmund G. LaCour, hereby declare as follows:

      1.      I am over 18 years of age and am competent to make this declaration.

I am the Solicitor General of the State of Alabama and one of the attorneys for

Defendant John Merrill in the above-captioned matter.

      2.      Attached to Defendants’ Response in Opposition to Plaintiffs’ Motion

for Preliminary Injunction are the following exhibits:
 Exhibit No. Description
                March 20, 1992 Preclearance Letter Attorney General Jimmy
      1         Evans to Department of Justice
                Supplemental Stipulation from Wesch v. Hunt, 785 F. Supp. 1491
      2         (S.D. Ala. 1992)



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                  Excerpt from Appendix filed in Wesch v. Hunt, Camp v. Wesch,
       3          503 U.S. 954 (1992)
                  1992 Letter from Department of Justice to Attorney General
       4          Jimmy Evans Objecting to Preclearance Under Section 5
                  September 7, 2021 Reapportionment Committee Public Hearing at
       5          Shelton State Community College Public Hearing Transcript
       6          Thomas M. Bryan Supplemental Report
       7          Clay Helms Declaration
                  May 5, 2021 Alabama Legislature Reapportionment Committee
       8          Guidelines Vote Count
                  Volume 4 of the trial transcript in Chestnut v. Merrill, No. 2:18-
       9          cv-907-KOB (N.D. Ala.), ECF No. 106
                  June 14, 1991 Testimony from Rep. Callahan at Reapportionment
      10          Committee Public Hearing at Mobile Gas Auditorium
                  2020 Democratic Primary Results for U.S. Congressional Districts
      11          1 and 2
      12          2020 Democratic Primary Election Statewide Runoff Results
      13          Alabama State Personnel Board 2020 Annual Report
                  Becoming Less Separate, United States Commission on Civil
      14          Rights (2007)
      15          Dr. McIntyre, M.D., M.P.H. Declaration

      3.         The exhibits listed above are true and correct copies of what they

purport to be.

      4.         I declare under the penalty of perjury that the foregoing is true and

correct.



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Executed on December 22, 2021         /s/Edmund G. LaCour Jr.
                                      Edmund G. LaCour
                                      Counsel for Secretary Merrill




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                         CERTIFICATE OF SERVICE
      I certify that I electronically filed this document using the Court’s CM/ECF

system on December 22, 2021, which will serve all counsel of record.

                                            /s/Edmund G. LaCour Jr.
                                            Edmund G. LaCour
                                            Counsel for Secretary Merrill




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